 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ATToRNEv on PARTv wirHouT Ai ToRNEv (Name and Aadmss); TELEPHoNE No. FOR RE¢ORD,_=R'$ us,_= oNLy
l:l REcoRolNG REQuEsT Bv AND RETuRN To: (650) 638-2370
CHR|STOPHER C. COOKE, SBN 142342
COOKE KOBR|CK & WU LLP
177 Bovet Road, Suite 600
San Mateo, CA 94402
ATToRNEv FoR g JquMENT cREoiToR l:| AsslGNEE oF REcoRo
uNiTED sTATEs olsTRicT couRT
' NoRTHERN o\srRicr oF cAi.\FoRN\A
sTREETAooREss: 450 GO|den Gate Ave.
cirv mo ziP coDE; San FranCiSCo, CA 94102
emma NAME: San Francisco Division
PLAlNr~FF; MEl-FANG LlSA ZHANG, et al.
DEFENDANT; WEl-MAN RAYMOND TSE, et al.
leT oF . E ExEcurloN (Money Judgmeni) cAsE NuMBER;
[] PossEssloN oF [l Personal Propeny C'O7`04946 JSW
|:| Rea| Pr°peny FoRcouRrusEo/vi.v
l] sALE
1. To ‘he Sheriff or any Marshal or Constable of the County of'.
Ycu are directed to enforce the judgment described below with dally interest and your costs as
provided by law.
2. To any registered process server: You are authorized to serve this writ only in accord with CCP
699.0'50 or CCP 715.040.
3. (Name): MEl,-FANG LISA ZHANG, BAY AREA AFFORDABLE HOUS|NG, LLC,
XUE-HUAN GAO, YANG-CHUN ZHANG, CAROL JlAN DENG, and HAO LlANG
is the |X judgment creditor m assignee of record
whose address is shown on this form above the court's name.
4» Judt?menf debtor (nam€ and last known addf€SS)-' 9. m See reverse for information on real or personal property to be delivered under a writ
WE|"MAN RA¥MOND TSE, of possession or sold under a writ of sa|e.
555 ~‘,'|ontgomery Street, Sulte 610 m Th_ ,t_ , d _ t t t _ d t
San mandqu CA 941|11 10. is wrl is issue on a sis er-s a e iu gmen.
11. Total judgment ............................................. $ 1,080,933.55
12. Costs afterjudgment (per filed order or
memo CCP 685.090 ................................... $ 940.00
THE.'tESA WONG 13. subtotal (add 11 and 12) ............................. $ 1,081.873-55
SSS-Honfaomerv Sfreef. Suife 610 14. credits ......................................................... s 284,536.16
San "ran°'sc°' CA 9411.1 15. subtotai (subrracr 14 from 13) ............. ; ....... $ 797.337.39
16. interest afterjudgment (per filed affidavit
CCP 685.050) ............................................. $ 14,529.38
17. Fee for issuance of writ ............................... $
|z additional judgment debtors on reverse 18. Total (add 15, 16, and 17) ........................... $ 811.866-77
;' ‘Hjm:"t e":ered °n gda'e/:!F{el;ruary 3' 2009 19. Levying ofticer: Add daily interest from date
. en ren we on a es .'
u gm 6 ( of writ (ai the legal rate on 15) of .................. $ 10.85
7. Noi§':e of sale under this wth
a. ` m has not been reqt°.ested. 20. I:I The amounts called for in items 11-19 are different for each debtor.
b- l:l has been requested (599 reversal These amounts are stated for each debtor on Attachment 20.

8. m Joint debtor information on reverse. RlCF ARD W WlEKlNG

 

 

MARK J. JENK|NS _Deput,

(SEAL> - l(;:l::)<i<>" 'JAN 12 2012 . cierk.by ‘

 

 

- NOT|CE TO PERSON SERVED: SEE REVERSE FOR |MPORTANT INFORMATlON -

 

(Contlnued on reverse) WRIT 0F ExECuTioN
CCP 699.520, 712.010, 715.010

EJ-130REV1/89

 

 

 

 

 

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SHORT TlTLE:

CASE NUMBER

ME|-FANG L\SA ZHANGl et a\. v. WEl-MAN RA¥MOND TSE, .et al. C-07-04946 JSW

 

 

CONT|NUED FROM FRONT:
Additiona| judgment debtor (name and last known address).'

 

JAMES ¥U
555 Montgomery Street, Suite 610
San Francisco, CA 94111

623 ZZND AVE
SAN FRANC|SCO, CA 94121-3702

 

|:] Notice of sale has been requested by -(name and address).'

 

Additional Judgment Debtors appear on Attachment 4

 

 

 

9

 

l:| Joint debtor was declared bound by the judgment (CCP 989-994)

~ a. on (date):
'b. name and address c§oint debtor

a. on (date):
b. name and address ofjoint debtor

 

 

 

 

c. \:I additional costs against certain joint debtor: (itemize):

::| Judgment was entered for the following:
a. m Possessior. of personal property

 

\:] |f delivery cannot be had. then for the value (item/'ze in 96) specified in the judgment or supplemental order.

\:] Possession of real property
\:] Sa|e of personal property
\:] Sa|e of real property

. Description of property

wang

 

 

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- NOT|CE TO PERSON SERVED

ert of execution of sa|e. ¥nur rights and duties are indicated on the accompanying Notice of Levy.

Wr|t of possession of personal property. if the levying officer ls not able ta take custody of the propertyl the levying officer will make a demand
upon you»for the property. if custody ls not obtained following demand, the judgment may be enforced as a money judgment for the value of the
property specified ln the judgment or |n a supplemental order.

ert of possession of real property. |f the premises are not vacated within five days after the date of service on an occupant or, |f service ls by
posting, within five days after service on you, the levying officer will place the judgment creditor ln possession of the property. Personal property
remaining on the premises will be sold or otherwise disposed of |n accordance with CCP 1174 unless you or the owner of the property pays the

judgment creditor the reasonable cost of storage and takes possession of the personal property not later than 15 days after the time the judgment
creditor takes possession of the premises.

 

 

 

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ATTACHMENT 4 TO WR|T OF EXECUT|ON
ADD|T|ONAL JUDGMENT DEBTORS
(Name and Last Known Address)

Zhang v. Tse, et al., Case No. C-07-04946 JSW

4. VlCTOR W. SO
% Legendary Palace
708 Franklin Place
Oakiand, CA 94607

1919 Fruitdale Ave., Apt. A6
San Jose, CA 95128-4969

5. JlAN XlAO
737 Chester Street
Oakla.nd, CA 94607-1938

6. CHR|ST lNVESTMENT SERV|CE, lNC.
% Bill Shu Wai Ma, CEO
1945 Kirkham Street
San Francisco, CA 94122

7. C|S SERV|CE, lNC.
% Bil Shu Wai Ma, CEO
1945 Kirkham Street,
San Francisco, CA 94122

8. PAC|F|C BEST GFiOUP LTD., aka PAC|F|C BEST COMPANY LTD.
% Mr. Wei-Man Raymond Tse
555 Montgomery Street, Suite 610
San Francisco, CA 94111

9. SOUTH CHlNA lNVESTMENT lNC.
% Ms. Run Ping Zhou
3567 Kimberly Road
Camoron Park, CA 95682

Attachment 4 to Writ of Execution-Case No. C-O7-O4946-JSW--Additional Judgment Debtors

